                                          Case 3:20-cv-08412-WHO Document 17 Filed 05/05/21 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                         MERYL POMPONIO,
                                   7                                                      Case No. 20-cv-08412-WHO
                                                       Plaintiff,
                                   8
                                                 v.                                       ORDER OF DISMISSAL
                                   9
                                         GROCERY OUTLET INC., et al.,                     Re: Dkt. No. 16
                                  10
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to the parties’ stipulation, IT IS HEREBY ORDERED that this case is

                                  14   dismissed with prejudice. The Clerk shall close the case.

                                  15   Dated: May 5, 2021

                                  16                                                  ______________________________________
                                                                                      WILLIAM H. ORRICK
                                  17                                                  United States District Judge
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